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6    Attorneys for the United States

7                                 UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEVADA
8
     UNITED STATES OF AMERICA,                        Case No. 2:20-cr-00207-JCM-EJY00000-XXX-
9                                                     XXXXXX-XXX
                     Plaintiff,
10                                                    Stipulation to Continue
            v.                                        Arraignment/Plea Hearing
11                                                    (First Request)
     JORGE ANTONIO CORTEZ-MEZA,
12    aka JORGE ANTONIO CORTES-MEZA,
      aka JORGE ANTONIO CORTEZ-MESA,
13
                     Defendant.
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16          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.

17   Trutanich, United States Attorney, and Jared L. Grimmer, Assistant United States

18   Attorney, counsel for the United States of America, and Rene L. Valladares, Federal Public

19   Defender, and Katherine Tanaka, Assistant Federal Public Defender, counsel for

20   Defendant JORGE ANTONIO CORTEZ-MEZA, that the Arraignment/Plea Hearing

21   currently scheduled for October 9, 2020, be vacated and continued to a date and time

22   convenient to the Court, but no sooner than (1) week.

23          This stipulation is entered into for the following reasons:

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1          1.     Government counsel is unavailable for the currently scheduled hearing date

2    and time.

3          2.     Defendant is incarcerated and does not object to a continuance.

4          3.     The parties agree with the continuance.

5          This is the first request for a continuance filed herein.

6          DATED this 1st day of October, 2020.

7                                                Respectfully submitted,

8
                                                  NICHOLAS A. TRUTANICH
9                                                 United States Attorney

10    /s/ Katherine Tanaka                        /s/ Jared L. Grimmer
      KATHERINE TANAKA                            JARED L. GRIMMER
11    Assistant Federal Public Defender           Assistant United States Attorney
      Counsel for Defendant JORGE
12    ANTONIO CORTEZ-MEZA

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1                               UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEVADA
2

3    UNITED STATES OF AMERICA,                        Case No. 2:20-cr-00207-JCM-EJY00000-XXX-
                                                      XXXXXX-XXX
4                  Plaintiff,
                                                      ORDER
5          v.

6    JORGE ANTONIO CORTEZ-MEZA,
      aka JORGE ANTONIO CORTES-MEZA,
7     aka JORGE ANTONIO CORTEZ-MESA,

8                  Defendant.

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11          Based on the stipulation of counsel and good cause appearing,

12          IT IS HEREBY ORDERED that the Arraignment/Plea Hearing currently scheduled

13   on October 9, 2020 at the hour of 10:00 a.m., be vacated and continued to

14    November 6, 2020
     ____________________ at the hour of 10:30 a. m.

15

16          DATED October
                  this ____2,
                           day2020.
                                of October, 2020.

17                                             By the Court:

18
                                               _____________________________________
19                                             HONORABLE JAMES C. MAHAN
                                               UNITED STATES DISTRICT JUDGE
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